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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION



     In re:                                            Chapter 11

     23ANDME HOLDING CO., et al.,                      Case Nos. 25-40976 et seq.

                                                       (Jointly Administered)


        DATA BREACH CLASS ACTION PLAINTIFFS’ LIMITED OPPOSITION TO
       DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) ESTABLISHING NOTICE,
          CASE MANAGEMENT, AND ADMINISTRATIVE PROCEDURES AND
                       (II) GRANTING RELATED RELIEF

              Appointed class counsel (“Class Counsel”) for the certified class of 23andMe data breach

 victims in In re: 23andMe, Inc. Customer Data Security Breach Litigation, 3:24-md-03098-EMC,

 pending before the Honorable Edward M. Chen in the Northern District of California (“Data

 Breach Class Action”), hereby submit this limited opposition to the Debtors’ Motion for Entry of

 an Order (I) Establishing Notice, Case Management, and Administrative Procedures and

 (II) Granting Related Relief (the “Notice Motion”)1, and respectfully represent as follows:

              In the Data Breach Class Action, pursuant to the Order Conditionally Granting Motion for

 Preliminary Approval dated December 4, 2024 (MDL Docket No. 160) (the “MDL Order”), Judge

 Chen appointed Class Counsel to represent 31 class representatives (“Class Representatives”) and

 a class of over 6.3 million victims of 23andMe’s data breach (“Data Breach Victim Class”) as part

 of a $30 million settlement reached in the Data Breach Class Action filed prior to 23andMe’s

 bankruptcy. Class Counsel, on behalf of the Class Representatives and the Data Breach Victim

 Class, generally do not oppose the relief sought in the Notice Motion. However, the Notice Motion


 1
        Capitalized terms and phrases used but not defined herein shall have the meanings ascribed
 to them in the Notice Motion.
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 appears to fundamentally misunderstand the role of Class Counsel and their relationship to the

 Data Breach Victim Class.

        First, although Class Counsel represents the Data Breach Victim Class, Class Counsel does

 not have the contact information for the 6.3 million members of the Data Breach Victim Class,

 which is currently solely in the possession of the Debtor. Thus, although Class Counsel can accept

 service of the notice on behalf of the Class Representatives, the Notice Motion suggests incorrectly

 that notice to Class Counsel can be treated as notice of these bankruptcy proceedings on the Data

 Breach Victim Class.

        Second, the notice procedures contemplated in the Debtors’ Motion for Entry of an Order

 (I) Establishing Bar Dates for Filing Proofs of Claim and Approving the Form and Manner of

 Notice Thereof and (II) Granting Related Relief (the “Bar Date Motion”) do not adequately provide

 for the identification, noticing or solicitation of the Data Breach Victim Class; rather, Judge Chen

 approved a notice and claims process whereby the Data Breach Victim Class would be fully

 identified and provided notice of their entitlement to benefits under the settlement and right to opt-

 out or object to the settlement through an agreed notice program under Rule 23 of the Federal

 Rules of Civil Procedure. The process approved by Judge Chen is not fully consistent with what

 the Debtors require for the Bar Date Motion, but it does address critical issues of notice and due

 process absent from the Bar Date Motion. Class Counsel are optimistic that the parties can

 negotiate procedures whereby notice of these proceedings can be provided in a manner similar to

 that approved by Judge Chen and consistent with the Debtor’s obligations under the Federal Rules

 of Bankruptcy Procedure.2



 2
         Class Counsel has initiated discussions with the Debtors and the Committee regarding its
 desire to file of a class proof of claim on behalf of the Class Claimants and for the employment of
 noticing procedures consistent with those described in the MDL Order.


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        WHEREFORE, to the extent the Notice Motion is granted, unless and to the extent that

 alternative arrangements are negotiated and approved, the Court should (a) confirm that service on

 Data Breach Victim Class does not accomplish service on the Class Claimants, and (b) reserve

 questions regarding the adequacy of notice on the Data Breach Victim Class for the hearing on the

 Bar Date Motion.



 Dated: April 15, 2025                        Respectfully submitted,

                                               /s/ Norman E. Siegel
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 15, 2025, the foregoing document was

 electronically filed with the Court using the CM/ECF system, which sent notification to all parties

 of interest participating in the CM/ECF system.



                                              /s/__Norman E. Siegel




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